
980 So.2d 703 (2008)
STATE ex rel. Brian HOARD
v.
STATE of Louisiana.
No. 2007-KH-1665.
Supreme Court of Louisiana.
May 16, 2008.
In re Hoard, Brian;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. C, No. 389-366; to the Court of Appeal, Fourth Circuit, No. 2007-K-0664.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
